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 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        CASE NO. 1:18-CR-00246-DAD-BAM
12                                Plaintiff,          AMENDED STIPULATION REGARDING
                                                      EXCLUDABLE TIME PERIODS UNDER SPEEDY
13                          v.                        TRIAL ACT; FINDINGS AND ORDER
14   RUBEN CORTEZ-ROCHA,                              CURRENT DATE: May 13, 2019
     JOSE LOZANO,                                     CURRENT TIME: 1:00 p.m.
15    aka “Junior”                                    COURT: Hon. Barbara A. McAuliffe
     SADOL DIAZ-BELTRAN, and
16   RICARDO ZEPEDA-NAVARRO,                          PROPOSED DATE: August 26, 2019
17                               Defendants.          PROPOSED TIME: 1:00 p.m.
                                                      COURT: Hon. Barbara A. McAuliffe
18

19
                                                STIPULATION
20
            Plaintiff United States of America, by and through its counsel of record, and defendants RUBEN
21
     CORTEZ-ROCHA (“CORTEZ-ROCHA”), by and through his counsel of record, Victor Sherman,
22
     JOSE LOZANO (“LOZANO”), by and through his counsel of record, Eric Kersten, SADOL DIAZ-
23
     BELTRAN (“DIAZ-BELTRAN”), by and through his counsel of record, Roger Wilson, and RICARDO
24
     ZEPEDA-NAVARRO (“ZEPEDA-NAVARRO”), by and through his counsel of record, George
25
     Rosenstock, hereby stipulate as follows:
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            1.     On December 3, 2018, defendants LOZANO and ZEPEDA-NAVARRO made their
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     initial appearances and were arraigned on the indictment. Time was excluded under the Speedy Trial
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 1 Act until their detention hearing on December 5, 2018. Doc. 12.

 2         2.      At a detention hearing on December 5, 2018, defendant ZEPEDA-NAVARRO was

 3 ordered detained. The Court set a status conference for February 11, 2019, and excluded the time from

 4 December 5, 2018, through February 11, 2019 under the Speedy Trial Act. Doc. 20.

 5         3.      At a detention hearing on December 5, 2018, defendant LOZANO was released on

 6 conditions. The Court set a status conference for February 11, 2019, and excluded the time from

 7 December 5, 2018, through February 11, 2019 under the Speedy Trial Act. Doc.23.

 8         4.      On December 10, 2018, defendant CORTEZ-ROCHA was arraigned and released on

 9 conditions. The Court set a status conference for February 11, 2019, and excluded the time from
10 December 10, 2018, through February 11, 2019 under the Speedy Trial Act. Doc. 28.

11         5.      On December 10, 2018, defendant DIAZ-BELTRAN was arraigned and released on

12 conditions. The Court set a status conference for February 11, 2019, and excluded the time from

13 December 10, 2018, through February 11, 2019 under the Speedy Trial Act. Doc. 29.

14         6.      At the status conference on February 11, 2019, the Court set a further status conference

15 on May 13, 2019, and excluded time from February 11, 2019, through May 13, 2019. Doc. 50.

16         7.      On April 25, 2019, the Court issued the order substituting attorney George Rosenstock as

17 attorney of record for defendant ZEPEDA-NAVARRO. Doc. 57

18         8.      By this stipulation, the parties now move to continue the status conference until August

19 26, 2019, at 1:00 p.m. and to exclude time between May 13, 2019, and August 26, 2019, inclusive,

20 under the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), B(iv).
21         9.      The parties agree and stipulate, and request that the Court find the following:

22                 a)     The government has represented that the discovery associated with this case

23         includes over 100 pages of reports and photographs, as well as over 40 audio recordings, many

24         of which are in a foreign language. This discovery has been produced directly to counsel.

25                 b)     Counsel for defendants desire additional time to review the current charges, to

26         review the discovery, to conduct research and investigation related to the charges and potential

27         pretrial motions, and to consult with their clients. Notably, Mr. Rosenstock only recently joined

28         the case.

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 1                 c)      Counsel for defendants have various conflicts in other cases between now and the

 2          proposed August 26, 2019 status conference that would not reasonably permit them to try this

 3          case any time between now and August 26, 2019.

 4                 d)      Counsel for defendants believe that failure to grant the above-requested

 5          continuance would deny them the reasonable time necessary for effective preparation, taking into

 6          account the exercise of due diligence.

 7                 e)      Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendants in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of May 13, 2019 to August 26, 2019,

12          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results

13          from a continuance granted by the Court at defendants’ request on the basis of the Court’s

14          finding that the ends of justice served by taking such action outweigh the best interest of the

15          public and the defendants in a speedy trial.

16          10.    Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

19          IT IS SO STIPULATED.

20
21
      Dated: May 9, 2019                                       McGREGOR W. SCOTT
22                                                             United States Attorney
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                                                               /s/ ANGELA L. SCOTT
24                                                             ANGELA L. SCOTT
                                                               Assistant United States Attorney
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      Dated: May 9, 2019                                      /s/ per email authorization
 1                                                            VICTOR SHERMAN
                                                              Counsel for Defendant
 2
                                                              RUBEN CORTEZ-ROCHA
 3

 4 Dated: May 9, 2019                                     _/s/ per email authorization_______________
                                                          ERIC KERSTEN
 5                                                        Counsel for Defendant
 6                                                        JOSE LOZANO

 7

 8
     Dated: May 9, 2019                                   _ /s/ per email authorization__________
 9
                                                          ROGER WILSON
10                                                        Counsel for Defendant
                                                          SADOL DIAZ-BELTRAN
11

12

13
     Dated: May 9, 2019                                   __ s/ per email authorization______
14                                                        GEORGE ROSENSTOCK
                                                          Counsel for Defendant
15                                                        RICARDO ZEPEDA-NAVARRO
16
                                            FINDINGS AND ORDER
17
            Pursuant to the parties’ stipulation and good cause shown, IT IS HEREBY ORDERED that the
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     2nd Status Conference is continued from May 13, 2019 to August 26, 2019 at 1:00 PM before
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     Magistrate Judge Barbara A. McAuliffe. It is further ORDERED that the time period between May
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     13, 2019, and August 26, 2019, inclusive, is excluded from the calculation under the Speedy Trial Act
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     pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) for the reasons stated in the parties’ stipulation.
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     IT IS SO ORDERED.
23
        Dated:     May 9, 2019                                 /s/ Barbara A. McAuliffe                _
24
                                                        UNITED STATES MAGISTRATE JUDGE
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